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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

                                 CASE NO. 1:18-cv-02351-KLM

FARMLAND PARTNERS, INC.,

                Plaintiff,

v.

ROTA FORTUNAE (WHOSE TRUE NAME IS UNKNOWN), JOHN/JANE
DOES 2-10 (WHOSE TRUE NAMES ARE UNKNOWN),

                Defendants.


DEFENDANT ROTA FORTUNAE’S NOTICE OF FILED MOTION TO RECONSIDER
  ORDER GRANTING SUBSTITUTED SERVICE ON FICTITIOUS DEFENDANTS
                      JOHN/JANE DOES 2-10


        Defendant Rota Fortunae (“RF”), by and through his counsel, Foster Graham Milstein

and Calisher, LLP, hereby gives notice that on September 14, 2018, pursuant to

D.C.COLO.CivR 81.1, Defendant Rota Fortunae filed the pending state-court Motion to

Reconsider Order Granting Substituted Service of Fictitious Defendants John/Jane Does 2-10

(“Motion”) and the related Response and Reply thereto. The Motion’s Docket Number is 1-8,

the Response’s Docket Number is 1-9, and the Reply’s Docket Number is 1-10. The Order from

which RF seeks reconsideration was filed as Docket Number 1-7. See also Doc. No 1 (Notice of

Removal) at ¶ 18 (“Pursuant to D.C.COLOLCivR 81.1(b), a copy of all pending motions and

related responses and replies is attached as Exhibit D, supra.”).

        At the Court’s March 5, 2019 Status Conference, the Court indicated that the foregoing

filing may have been insufficient under D.C.COLOLCivR 81.1(b). Therefore, RF is re-filing the




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Motion, Response and Reply, all with separate docket numbers, contemporaneously with this

Notice. ¶


        Respectfully submitted this 14 Day of March, 2019,

                                                   /s/ John A. Chanin
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 14th Day of March, 2019, I electronically filed the foregoing
DEFENDANT ROTA FORTUNAE’S NOTICE OF FILED MOTION TO RECONSIDER
ORDER GRANTING SUBSTITUTED SERVICE ON FICTITIOUS DEFENDANTS
JOHN/JANE DOES 2-10 with the Clerk of the Court using the ECF system, and served via ECF
to the following:

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                                             /s/   Lucas Wiggins
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